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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION

MARCELLE ANN ANGALL-LEONCE
and ROMANUS SYLVESTER LEONCE,

        Plaintiffs,
v.                                                             Case No.: 1:20-cv-127-AW-GRJ

ON POINT TRANSPORT, INC., and
JOSEPH MISATULI LEIA

        Defendants.
___________________________________________/

DEFENDANTS’ MOTION TO COMPEL IN-PERSON DEPOSITIONS OF PLAINTIFFS

        COME NOW, the Defendants, ON POINT TRANSPORT, INC. and JOSEPH

MISATULI LEIA, by and through their undersigned counsel, and pursuant to Rule 30 and all

other applicable Federal Rules of Civil Procedure and Local Rule 7.1, hereby move this

Honorable Court to compel Plaintiffs to appear for in-person depositions. In support thereof,

Defendants state:

        1.      This matter relates to a personal injury claim related to a motor vehicle collision

that occurred on or about July 26, 2015 in or around Micanopy, Alachua County, Florida. That

matter was initiated in State Court in Gainesville, Florida.

        2.      The Defendants removed this matter from the Circuit Court of the Eighth Judicial

Circuit, in and for Alachua County, Florida to the United States District Court for the Northern

District of Florida, Gainesville Division.

        3.      Pursuant to this Honorable Court’s Order Granting Joint Motion for Extensions,

the deadline to complete discovery is January 31, 2021.
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        4.     On or about November 18, 2020, Defendants noticed the videotaped depositions

of Plaintiffs Marcelle Ann Angall-Leonce and Romanus Sylvester Leonce. In recognition of the

serious health crisis facing the nation and the State of Florida from COVID-19 and in an effort to

maintain the orderly administration of justice, Defendants initially noticed these depositions with

an indication that the “instructions for Zoom participation will be forwarded at a later date.”

(See, Notice of Taking Videotaped Depositions).

        5.     Subsequently,     Defendants   received   Plaintiffs’   Rule   26(a)(2)(B)   Expert

Disclosure, which outlined a substantial escalation of the damages claimed by Plaintiffs, related

to allegations of traumatic brain injury.

        6.      In light of the damages and injuries claimed, Defendants are unable to fully and

fairly examine, assess, and observe Plaintiffs for discovery purposes by means of video

teleconferencing and cannot stipulate to depositions of Plaintiffs by remote means. Considering

the importance of the issues at stake, an in-person deposition is the only discovery mechanism

available that does not act to prejudice Defendants’ ability to evaluate the claims made against

them.

        7.     Therefore, Defendants filed Amended Notices of Taking Depositions directing

Plaintiffs to personally appear for depositions, subject to reasonable health precautions including

masks, social distancing, and proper symptom monitoring.

        8.      Inasmuch as the parties do not agree to conducting the deposition remotely, and

because no court order in this case, local rule, or administrative order of this Court direct the

parties to conduct all depositions by videoconferencing, Plaintiffs should be directed to appear

personally for a deposition.




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                                  MEMORANDUM OF LAW

       Rule 26(b)(1), Federal Rule of Civil Procedure provides:

       Unless otherwise limited by court order, the scope of discovery is as follows:
       Parties may obtain discovery regarding any nonprivileged matter that is relevant
       to any party’s claim or defense and proportional to the needs of the case,
       considering the importance of the issues at stake in the action, the amount in
       controversy, the parties’ relative access to the relevant information, the parties’
       resources, the importance of the discovery in resolving the issues, and whether the
       burden or expense of the proposed discovery outweighs its likely benefit.

       Generally, a party may, by oral questions, depose any person, including a party, without

leave of court. Rule 30(a)(1), Fed. R. Civ. P. “The parties may stipulate – or the court may on

motion or order – that a deposition be taken by telephone or other remote means.” Rule

30(b)(4), Fed. R. Civ. P. Absent agreement or court order, the deposing party may select the

place of the deposition. See, e.g., Shockey v. Huhtamaki, Inc., 280 F.R.D. 598, 600 (D. Kan.

2012); see also, Huddleston v. Bowling Green Inn of Pensacola, LLC, 333 F.R.D. 581, 585 (N.D.

Fla. 2019)(party taking the deposition usually selects the place where the deposition will be

conducted). With respect to the deposition of a plaintiff, the general rule is that “a plaintiff will

be required to make himself or herself available for examination in the district in which suit was

brought.” Id.; see also, Dude v. Congress Plaza, LLC, 2018 WL 1009263 (S.D. Fla. February

20, 2018)(no undue burden to Plaintiff to return to forum for in-person deposition).

       Defendants anticipate that Plaintiffs will assert that concerns related to the ongoing global

pandemic, which was declared by World Health Organization relative to the outbreak and spread

of coronavirus (COVID-19), supports their desire to refrain from an in-person deposition in the

forum where their action is pending. Reliance on this pandemic as a basis for avoiding any in-

person appearance for deposition is somewhat specious inasmuch as Plaintiff has travelled to

Florida on a number of other occasions related to this litigation. For example, and as detailed by




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Plaintiffs’ Rule 26 Expert Disclosure, on or about September 30, 2020, Ms. Angall-Leonce

evidently travelled to Florida for evaluation and treatment by her disclosed expert, Dr. Marc

Sharfman of the Headache & Neurological Treatment Institute. On that same date, Ms. Angall-

Leonce also consulted with, and was examined by, Christopher Leber, M.D. in Gainesville,

Florida for the purpose of completing a life care plan.     Furthermore, just weeks ago, Plaintiff

also appeared in Gainesville on November 5, 2020 for a Compulsory Medical Examination

before Defendants’ expert, Steven M. Bailey, M.D. Plaintiff asserted no good cause for failing

to personally attend any of these interactions relative to her lawsuit. Finally, Plaintiff will no

doubt be compelled to physically appear at the trial of this matter in Gainesville in less than five

months time. Therefore, no good cause exists for failure to personally appear for a discovery

deposition as noticed.

         Notwithstanding the above, Defendants recognize that pursuant to this Honorable

Court’s most recent Administrative Order regarding Court Operations Under the Exigent

Circumstances Created by COVID-19, “hearings and other appearances before the Court may be

held remotely by video or telephone conference or in-person at a courthouse, as determined by

the assigned judge.” See, Administrative Order (“AO”) ¶2; 4:95-mc-40111-DJ (August 12,

2020).    Remote proceedings are not, however, mandated.          Many of the safety precautions

outlined by this Court for in-person appearances at the courthouse can likewise be implemented

or utilized to safely conduct in-person deposition of the Plaintiffs. For instance:

         a.    All deposition participants can monitor their health on a daily basis and upon

notification that any participant has been in close contact with someone who has tested positive

for COVID-19 or if they fell ill or exhibit any COVID-19 symptoms, postponement can be

sought. (See, AO ¶4).




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       b.      All deposition participants can practice social distancing measures and wear a

cloth face mask when moving about during the deposition. (See, AO ¶5).

       c.      All deposition participants would have hand sanitizer and/or the ability for

frequent hand washing available at the deposition location. (See, AO ¶6).

       d.      All commonly touched surfaces within the deposition location would be cleaned

and disinfected prior to commencement of the deposition. (See, AO ¶7).

Additionally, because the participants at the depositions can be limited to the court reporter, the

deponent, his or her counsel, and counsel for Defendants . . . a total of four individuals … social

distancing is easily achieved. As a result, adequate safeguards exist to effectively mitigate any

safety concerns that might be reasonably articulated.

       Defendants will be substantially prejudiced if ordered to move forward with only remote

access depositions of the Plaintiffs by video conference. Aside from the technological issues that

often present related to lags in communication transmissions, limited and static field of vision to

participants, and potential difficulties in ease of presentation and discussion of any exhibits,

video conferences inherently impede counsel’s ability to fully and fairly observe the deponent

and make his or her own critical determinations about the witness, which substantially impact the

ability to reasonably evaluate her claim. Because such prejudice substantially outweighs any

good cause submitted for conducting these depositions by remote means, Plaintiffs should be

compelled to attend their depositions in-person, subject to reasonable health precautions.

       WHEREFORE, Defendants ON POINT TRANSPORT, INC. and JOSESPH

MISATULI LEIA, respectfully request that this Honorable Court enter an order compelling

Plaintiff to appear in-person for a deposition in or around Gainesville, Florida




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                        LOCAL RULE 7.1(B) CERTIFICATION
                                              \
       Defendants hereby certify that on or about November 19, 2020, and pursuant to Local

Rule 7.1(B) and the Initial Scheduling Order in this matter, the undersigned/moving counsel has

conferred in good faith with opposing counsel who does not agree to a resolution of this Motion.




                           (Certificate of Service on following page)




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                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished

to JACK J. FINE, ESQUIRE of Fine, Farakash & Parlapiano, P.A., located at 622 Northeast

First Street, Gainesville, Florida 32601, via Electronic Mail jfine@ffplaw.com and

jduchaj@ffplaw.com this 25th day of November, 2020.


                                         FERNANDEZ TRIAL LAWYERS, P.A.

                                         /s/ John Moffitt Howell_______________________
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